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CRIMINAL MINUTES

                                               UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF GEORGIA
                                                    BRUNSWICK DIVISION

CASE NO.       2:18-cr-47                         DATE        3/5/2019                     TIME       1:48-2:00


USA v.      Donald Adams                                         TAPE NO.      FTR-BWK-CR1         JUDGE      WOOD


BEFORE BENJAMIN W. CHEESBRO, U.S. MAGISTRATE JUDGE                             INTERPRETER:

   X     DEFENDANT PRESENT

   X     COUNSEL FOR DEFENDANT              Alan Tucker
   X     ASSISTANT U.S. ATTORNEY            Jennifer Kirkland
   X     DEPUTY CLERK                       Kim Mixon
         U.S.P.O

   X     U.S. MARSHAL                         X Jay Ciambrone         X     Marty Fitzgurls                 Jason Parnell
MOTIONS HEARING.


1:00-Court to hear argument on Defendant’s motions first. No Notice to Counsel form submitted by Defendant. Court goes through
motions one at a time.
As to the status of discovery, Government states it has received new discovery to include new autopsy report, 911 calls and victim’s
cell phone log and will get that uploaded tonight. Discovery is considered supplemental production.
As to status of motions:
#25-Motion for Discovery. Motion is unopposed.
#26-Motion for Jencks Act Material. Motion is unopposed.
#27-Motion for Leave to File Additional pretrial motions. Motion is unopposed.
#28-Motion for Dislcousre of Rule 404 (b) evidence. Motion is unopposed.
#29-Motion for Disclosure of Identity and to interview informants. No issues for Court to resolve on the motion at this time.
#30-Motion for Witness List. Government opposes this motion and states the Government does not provide witness lists ahead of
time. Court reminds counselors to review and comply with local rules. Nothing for Court to take up on this motion at this time.
#31-Motion for Release of Brady Materials. This motion is unopposed.
#32-Motion for Discovery. This motion is unopposed.
#33-Motion for Disclosure of Grand Jury proceedings. Nothing for court to resolve on this motion at this time.
As to issue on Voluntariness of Statements, Government seeks a hearing on the matter. Court will set hearing within ten days from
today.
As to Government’s Motion for Reciprocal Discovery, #57, the Motion is unopposed.
Court will issue a written order.
Nothing further from parties. Court adjourns. 2:00
